      Case 1:15-cr-00867-RMB          Document 713                                                            Filed 12/29/21                                                                                                                                                                            Page 1 of 1


                                                   U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                     December 29, 2021
Via ECF
The Honorable Richard M. Berman
United States District Judge
Southern District of New York
New York, New York 10007

       Re:    United States v. Zarrab, et al., No. 15 Cr. 867 (RMB)

Dear Judge Berman:

       The Government respectfully requests that Your Honor direct the Clerk of Court to
terminate the appearance of the undersigned Assistant United States Attorney on this docket. The
undersigned will no longer be employed by the U.S. Attorney’s Office as of December 30, 2021.


                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney for the
                                                     Southern District of New York

                                               By:        /s/
                                                     ________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                     Emil J. Bove III
                                                     Assistant United States Attorney
                                                     (212) 637-2444

Cc:    Defense Counsel
       (Via ECF)
